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               IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA                                                  PLAINTIFF

vs.                             NO. 4:12CR00293-002 SWW

MELVIN CHARLES GAMBLE                                                     DEFENDANT




                                            ORDER


       Pending before the Court is a motion for dismissal of the indictment against separate

defendant, Melvin Charles Gamble, due to the death of the defendant filed by defense counsel. The

government has no objection to defendant’s motion.

       IT IS SO ORDERED that the defense counsel’s motion for dismissal of the indictment

against defendant [doc #93] is granted, and the indictment pending against defendant Melvin

Charles Gamble hereby is dismissed.

       DATED this 13th day of November 2013.

                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE
